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2.5 JPMCB CARD SERVICES (CLOSED)
Summary

Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score. It's
calculated by dividing an account's reported balance by its credit limit.

Account Number XXXXXXXXXXXX 7683 Reported Balance $9,772

Account Status CHARGE_OFF Available Credit $1,772

Account History

The tables below show up to 3 years of the monthly balance, available credit, scheduled payment, date of last payment, high credit,
credit limit, amount past due, activity designator, and comments.

Balance

Ars BETy) iz) 9) LETS vel Ey ata) Rie) | pales] bT18) Les: leh] Br=Te)

2022

2023 $9,772 $9,772 $9,772 $9,772

Available Credit

Nicely Rela] 18) ls Neg Ey AIT s) Aly | PNtle) bot) 8) Lolo: eld alates

2022

Actual Payment

BE la)

2022

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2023

2024

High Credit

ails RET] mel’) ST78)

2023 $8,000 $9,772 $9,772 $9,772

aor) s Rela) im:

2023 $8,000 $8,000 $8,000 $8,000

Amount Past Due

aor) RET] ele) Els pve) Ey ait) ait PNtls) bets) Lore: ley Bite)
2022

2023 $9,772 $9,772 $9,772 $9,772

2024

2023 Cc c c Cc

2024

Comments 1

07/2023 Charged off account

08/2023 Charged off account

09/2023 Charged off account

10/2023 Charged off account

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09/02/24 Pag 54 ot a

37-1
Case 2:23-cv-12886-SFC-EAS ECF No. 34-37

Comments 2

Beit) ere =U

OF/2023 Account closed by credit grantor
08/2023 Account closed by credit grantor
09/2023 Account closed by credit grantor
10/2023 Account closed by credit grantor

Payment History

View up to 7 years of monthly payment history on this account. The numbers indicated in each month represent the number of days a
payment was past due; the letters indicate other account events, such as bankruptcy or collections.

2023 Moos 86 ece)6C Bee |= BREE Boe Bee «=| Bee co co co Re
2022 Ci nee Se Re nse Sie RS eee ease OES RRS
2021 30 60 $0 120 150 180 co RRS ERE RRS RRS
2020 a a a ~v av a a ~v av a a av
2019 aos SEE ORE URE CR wf wv wf wf ¥ av
2018 kes EERE ke Rie “eke EKER EES EERE ERE EES EERE SERIO
2017
af” Paid on Time 30 30 Days Past Due 60 60 Days Past Due 90 90 Days Past Due 120 120 Days Past Due
150 150 Days Past Due 180 180 Days Past Due Vo Voluntary Surrender F Foreclosure € Collection Account
CO Charge-Off B Included in Bankruptey R Repossession TN Too New to Rate “No Data Available

Account Details

View detailed information about this account. Contact the creditor or lender if you have any questions about it.

High Credit Payment Responsibility INDIVIDUAL
Credit Limit $8,000 Account Type REVOLVING
Terms Frequency MONTHLY Term Duration

Balance $772 Date Opened Feb 03, 2009
Amount Past Due $9,772 Date Reported Nov 21, 2023
Actual Payment Amount Data of Last Paymant Nov 2020
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Date of Last Activity

Months Reviewed

Activity Designator

Deferred Payment Start Date
Balloon Payment Date

Loan Type

Date of First Delinquency

Comments

Charged off account
Account closed by credit grantor

EQUIFAX

99

CLOSED

Flexible Spending Credit Card

Jan 21, 2021

Scheduled Payment Amount
Delinquency First Reported
Creditor Classification
Charge Off Amount

Balloon Payment Amount

Date Closed

Contact

JPMCB CARD SERVICES

PO BOX 15369

WILMINGTON, DE 19850-5369
(800) 945-2000

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May 2023
UNKNOWN

$9,772

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